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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

DENNIS TOOLEY,                        )
an Individual,                        )
                                      )              CASE NO.:
               Plaintiff,             )
vs.                                   )
                                      )
KATHERINE A. GREEN,                   )
an Individual,                        )
                                      )
and                                   )
                                      )
SANSONE GROUP, LLC,                   )
a Missouri Limited Liability Company, )
                                      )
               Defendants.            )
____________________________________)

                                          COMPLAINT

        Plaintiff, DENNIS TOOLEY through his undersigned counsel, hereby files this

Complaint and sues KATHERINE A. GREEN, an Individual and SANSONE GROUP, LLC, a

Missouri Limited Liability Company for injunctive relief, attorneys’ fees and costs pursuant to

42 U.S.C. § 12181 et seq., (“AMERICANS WITH DISABILITIES ACT” or “ADA”) and

alleges:

                                JURISDICTION AND PARTIES

1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

        Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter referred to as

        the “ADA”).      This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§

        1331 and 1343.

2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) and E.D.Mo. L.R. 3 - 2.07.


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3.      Plaintiff, DENNIS TOOLEY (hereinafter referred to as “MR. TOOLEY”), is a resident

        of the State of Indiana in Johnson County.

4.      Plaintiff, MR. TOOLEY, is a qualified individual with a disability under the ADA. MR.

        TOOLEY suffers from Multiple Sclerosis, which causes severe nerve damage and affects

        his ability to walk and stand.

5.      Due to his disability, Plaintiff MR. TOOLEY is substantially impaired in several major

        life activities and requires the use of mobility aids including a wheelchair, walker and/or

        a cane depending on his level of pain and fatigue on a daily basis.

6.      Defendant, KATHERINE A. GREEN, an Individual, (hereinafter referred to as

        “DEFENDANT”), is registered to do business in the State of Missouri.                   Upon

        information and belief, KATHERINE A. GREEN, is the owner, lessee, and/or operator of

        the real property and improvements which are the subject of this action, to wit: the

        Property, South Lakeview Plaza, generally located at 4404 Lemay Ferry Rd, St. Louis,

        MO 63129.     Defendant is responsible for complying with the obligations of the ADA.

7.      Defendant, SANSONE GROUP, LLC, a Missouri Limited Liability Company,

        (hereinafter referred to as “SANSONE”), is registered to do business in the State of

        Missouri.    Upon information and belief, SANSONE, is the owner, lessee, and/or

        operator of the real property and improvements which are the subject of this action, to

        wit: the Property, South Lakeview Plaza, generally located at 4404 Lemay Ferry Rd, St.

        Louis, MO 63129.      Defendant is responsible for complying with the obligations of the

        ADA

8.      All events giving rise to this lawsuit occurred in the Eastern District of Missouri, Saint

        Louis County, Missouri.

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                         COUNT I - VIOLATION OF TITLE III OF THE
                           AMERICANS WITH DISABILITIES ACT

9.      Plaintiff realleges and reavers Paragraphs 1-8 as if they were expressly restated herein.

10.     The Property, a shopping plaza, is open to the public and provides goods and services to

        the public.

11.     Plaintiff MR. TOOLEY has visited the Property, generally located at 4400 Lemay Ferry

        Rd, St. Louis, MO 63129 and attempted to utilize the facilities offered at the Property.

12.     While at the property, MR. TOOLEY experienced serious difficulty accessing the goods

        and utilizing the services therein due to the architectural barriers discussed herein in

        paragraph 15 of this Complaint.

13.     MR. TOOLEY continues to desire to visit the Property, but fears that he will continue to

        experience serious difficulty due to the barriers discussed in paragraph 15 which still

        exist.

14.     MR. TOOLEY plans to and will visit the property in the near future to utilize the goods

        and services offered thereon.

15.     Defendants are in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et seq.

        and is discriminating against the Plaintiff due to Defendants’ failure to provide and/or

        correct, inter alia, the following barriers to access which were personally observed,

        encountered and which hindered Plaintiff’s access:

                 A. Plaintiff encountered inaccessible parking designated as accessible throughout

                      the Property due to excessive long and cross slopes;

                 B. Plaintiff encountered inaccessible parking designated as accessible throughout

                      the Property due to lack of signage;


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             C. Plaintiff encountered inaccessible curb ramps throughout the Property due to

                 excessive long slopes and excessively sloped side flares;

             D. Plaintiff encountered inaccessible routes throughout the Property due to

                 excessive long slopes and lack of handrails; and

             E. Plaintiff encountered inaccessible entrances due to lack of level landings

                 within pull side clearance areas.

16.   To date, the readily achievable barriers and other violations of the ADA still exist and

      have not been remedied or altered in such a way as to effectuate compliance with the

      provisions of the ADA.

17.   Defendants either do not have a policy to assist people with disabilities or refuse to

      enforce such a policy if it does exist.

18.   Independent of his intent to return as a patron to the Property, Plaintiff additionally

      intends to return to the Property as an ADA tester to determine whether the barriers to

      access stated herein have been remedied.

19.   Removal of the barriers to access located on the Property is readily achievable,

      reasonably feasible and easily accomplishable without placing an undue burden on

      Defendants.

20.   Removal of the barriers to access located on the Property would allow Plaintiff to fully

      utilize the goods and services located therein.

21.   The Plaintiff has been obligated to retain undersigned counsel for the filing and

      prosecution of this action.    Plaintiff is entitled to have his reasonable attorneys’ fees,

      costs, and expenses paid by Defendants.



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               WHEREFORE, the Plaintiff demands judgment against DEFENDANTS, and

requests the following injunctive and declaratory relief:

       A.      That the Court declares that the Properties owned and operated by

               DEFENDANTS are in violation of the ADA;

       B.      That the Court enter an Order directing DEFENDANTS                to alter

               the facility to make them accessible and useable by individuals

               with disabilities to the full extent required by Title III of the ADA;

       C.      That the Court enter an Order directing DEFENDANTS to

               evaluate and neutralize their policies and procedures towards

               persons with disabilities for such reasonable time so as to allow

               DEFENDANTS to undertake and complete corrective procedures.

       D.      That the Court award reasonable attorneys’ fees, costs (including

               expert fees), and other expenses of suit, to the Plaintiff; and

       E.      That the Court award such other and further relief as it deems

               necessary, just and proper.

Dated: February 14, 2018

                                      Respectfully Submitted,


                                    By: /s/ Jeff S. Keech
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